
USCA1 Opinion

	










          July 22, 1996         [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
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        No. 95-1130

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                JUAN VELEZ-HERNANDEZ,

                                Defendant, Appellant.

                                                     
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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jos  Antonio Fust , U.S. District Judge]
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                                        Before

                               Torruella, Chief Judge,
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                            Coffin, Senior Circuit Judge,
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                               and Cyr, Circuit Judge.
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             Francisco Serrano Walker on brief for appellant. 
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             Guillermo Gil, United States Attorney, Jos  A. Quiles-Espinosa,
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        Senior Litigation Counsel, and Juan A. Pedrosa, Assistant United
                                       _______________
        States Attorney, on brief for appellee.


                                                     
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                    Per Curiam.  Defendant Juan Velez-Hernandez appeals the
                    Per Curiam.
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          sentence  imposed  following his  guilty  plea  to one  count  of

          conspiracy to possess with intent to distribute cocaine  under 21

          U.S.C.    841(a)(1), 846.   Velez claims that the  district court

          erroneously  ruled that the  government did  not breach  the plea

          agreement  by  failing  to  recommend a  downward  departure  for

          "substantial assistance."   See 18 U.S.C.    3553(e); U.S.S.G.   
                                      ___

          5K1.1.  We affirm.

                    Under his  plea agreement,  Velez promised  to continue

          truthfully  to  disclose to  the government  accurate information

          related  to  all   unlawful  activities  in  which   he  and  his

          collaborators were  involved, and to  refrain from  "commit[ting]

          any offense."   The government  in turn promised  to recommend  a

          downward departure  for "substantial  assistance" pursuant to  18

          U.S.C.   3553 and U.S.S.G.   5K1.1.  

                    Several months after entering  into the plea agreement,

          Velez was arrested on a new charge, as a felon in possession of a

          loaded  firearm,  see 18  U.S.C.    922(g)(1),  to which  he pled
                            ___

          guilty.   Thereafter, Velez  provided further information  to the

          government about the earlier cocaine conspiracy, which he had not

          disclosed  as required by the plea agreement.  At sentencing, the

          government  declined  to  move  for  a  "substantial  assistance"

          departure,   citing   Velez'   deliberate   withholding   of  the

          information  relating  to  the  cocaine   conspiracy,  in  direct

          violation of the  plea agreement.   The  district court  rejected

          Velez'  claim  that he  had  forgotten  the omitted  information.


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          Additionally,   the   district  court   determined   that  Velez'

          commission of a subsequent offense violated the plea agreement as

          well.  Accordingly, the court ruled that the government had acted

          in  good faith and that Velez' conduct relieved the government of

          any obligation to recommend a   5K1.1 downward departure. 

                    We need not discuss the Velez challenge to the district

          court's  ruling insofar as it depended on the failure to disclose

          all information relating to his unlawful activities involving his

          collaborators, since Velez' failure to refrain from "commit[ting]

          any offense" inarguably constituted a material breach of the plea

          agreement  sufficient  to  warrant  the  government's refusal  to

          recommend a downward departure for substantial assistance. 

               Affirmed.
               Affirmed.
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